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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

DEMONTRAY HUNTER, et al.,             )
                                      )
        Plaintiffs,                   )
                                      )          CIVIL ACTION NO.
        v.                            )            2:16cv798-MHT
                                      )                 (WO)
KIMBERLY G. BOSWELL, in               )
her official capacity as              )
the Commissioner of the               )
Alabama Department of                 )
Mental Health,                        )
                                      )
        Defendant.                    )

                                  ORDER

      During the status conference on May 28, 2021, defense

counsel expressed confidence that the Alabama Department

of    Mental     Health     (ADMH)        will   achieve    substantial

compliance with the requirements of the consent decree

by February 2022.         But the court remains concerned about

proceeding without a clear way to measure progress in the

intervening months.

      Accordingly, it is ORDERED that defendant submit a

set of proposed benchmarks against which progress can be

measured for the next nine months, enabling plaintiffs
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and     the    court    to    identify       lingering       challenges         and

consider whether additional remedial plans are necessary.

These benchmarks should include proposed quantitative

outcomes       for    both    outpatient       mental       evaluations         and

competency          restoration      treatment       that,    if    met,       will

demonstrate         satisfactory       progress      towards       substantial

compliance on both metrics.                 (As defendant requested, no

proposed       benchmarks       are    required       for    the     inpatient

context at this time.)              Each of these proposed benchmarks

should include numerical targets for, at minimum, August

2,    2021;        November    1,    2021;     and    February       1,    2022.

Defendant          should    also   include     qualitative         benchmarks

where relevant.             Defendant is to submit these proposed

benchmarks on or before June 22, 2021, with plaintiffs

to reply by June 29, 2021.

       It     is   further    ORDERED       that,    in   addition        to    the

previously-ordered joint reports regarding steps taken

to improve ADMH’s noncompliance, the parties are to file

data reflecting the status of compliance at least three

days before each upcoming status conference.                       See Opinion


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and     Order     (Doc.    182)    at    17-18    (scheduling       status

conferences and ordering joint reports).                     Plaintiffs’

recent filing of supplemental data (Doc. 190) may serve

as a sample for these reports.

       DONE, this the 7th day of June, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
